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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION                                                                 ORIGINAL


 UNITED STATES OF AMERICA
 vs
 LUIS CURIEL                                                                                 4:22-CR-132-P(0 1)

            ORDER SETTING ADDITIONAL TERMS OF SUPERVISED RELEASE

           The required Mandatory Conditions listed at 18 U.S.C. § 3583(d) and Section 5D1.3(a) of
           the Guidelines Manual, including:

      1.          You must not commit another federal , state or local crime.

      2.          You must not unlawfully possess a controlled substance.

      3.          You must refrain from any unlawful use of a controlled substance. You must submit
                  to one drug test within 15 days of release from imprisonment and at least two
                  periodic drug tests thereafter, as determined by the court.

                  IZIThe above drug testing condition is suspended, based on the court's
                  determination that you pose a low risk of future substance abuse. (check if
                  applicable)

      4.          IZIYou must cooperate in the collection of DNA as directed by the probation officer.
                  (check if applicable)

      5.          IZI You must comply with the requirements of the Sex Offender Registration and
                  Notification Act (34 U.S.C. § 20901 , et seq.) as directed by the probation officer,
                  the Bureau of Prisons, or any state sex offender registration agency in the location
                  where you reside, work, are a student, or were convicted of a qualifying offense.
                  ( check if applicable)

      6.          DY ou must participate in an approved program for domestic violence. (check if
                  applicable)

      7.          □ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264,
                  2327, 3663 , 3663A, and 3664. (check if applicable)

      8.          You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

      9.          If this judgment imposes a fine, you must pay in accordance with the Schedule of
                  Payments sheet of this judgment.
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       AND

       The discretionary Standard Conditions set forth by Miscellaneous Order No. 64, as well as
       the below-listed "Discretionary," "Special," and "Additional" Conditions listed at Sections
       5D1.3(b), (d), and (e) of the Guidelines Manual-which, based on the facts and
       circumstances of the above-referenced case, are (A) reasonably related to the factors set
       forth in 18 U.S .C. §§ 3553(a)(l), (a)(2)(B), (a)(2)(C), and (a)(2)(D); (B) involve no greater
       deprivation of liberty than is reasonably necessary for the purposes set forth in Section
       3553(a)(2)(B), (a)(2)(C), and (a)(2)(D); and (C) consistent with any pertinent policy
       statements issued by the Sentencing Commission pursuant to 28 U.S.C. § 994(a)
       ("Notice"): ):

        1.             en ant shall provide to the probation officer complete access to all business
                  d per nal fi      al information. (Macro 18A)
